 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 CATHERINE McKOY, MARKUS FRAZIER, and
 LYNN CHADWICK, individually and on behalf of                        Case No. 18-cv-09936 (LGS) (SLC)
 all others similarly situated,

                                    Plaintiffs,

                   -against-

 THE TRUMP CORPORATION and DONALD J.
 TRUMP, in his personal capacity,

                                     Defendants.
 ----------------------------------------------------------------X




                    DEFENDANTS’ REPLY MEMORANDUM OF LAW IN
                    SUPPORT OF MOTION FOR SUMMARY JUDGMENT




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                                        PRELIMINARY STATEMENT

           Plaintiffs’ opposition to Defendants’ motion for summary judgment confirms that there are

no genuine and material issues of fact as to any of Plaintiffs’ claims. As further demonstrated

below, the Court should grant summary judgment in Defendants’ favor on all of Plaintiffs’ claims

and put an end to this meritless action.1

                                                    ARGUMENT

I.         GENUINE AND MATERIAL ISSUES OF FACT DO NOT EXIST AS TO ANY OF
           PLAINTIFFS’ FRAUD AND MISREPRESENTATION-BASED CLAIMS

           As set forth in Defendants’ opening brief, this entire case is about ACN,2 a multi-level

marketing company that sold Plaintiffs the ACN Opportunity and benefitted from their

involvement therein. However, in an unprecedented move, Plaintiffs seek to hold President Trump

and the Trump Corporation responsible for their failure to earn income while involved with ACN.

This, despite the uncontroverted facts that President Trump was merely a celebrity spokesperson

for ACN, had no ownership interest in ACN, had no contractual relationship with Plaintiffs,

received no monies from Plaintiffs, and had no direct dealings with Plaintiffs at all. Although

Plaintiffs try to downplay ACN’s disclosures and disclaimers, it is also an uncontroverted fact that

ACN cautioned Plaintiffs that they might earn no income from the ACN Opportunity and advised

them that there was no guarantee otherwise. Having gone into the ACN Opportunity with their

eyes wide open, Plaintiffs cannot now be heard to complain that they relied blindly on President

Trump’s alleged statements while completely ignoring ACN’s disclosures and disclaimers.

           In opposition, Plaintiffs again ignore what is right in front of them and attempt to persuade

this Court that genuine and material issues of fact do exist as to their fraud-based claims. As with


1
    Defendants plan to file an application to strike improper portions of Plaintiffs’ opposing papers on June 26, 2023.
2
    Terms defined in Defendants’ opening brief (“Defendants’ Brief”) are hereby adopted and incorporated by reference.



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the ACN disclosures and disclaimers, Plaintiffs simply cannot escape the fact that their own

testimony demonstrates that the alleged statements made by President Trump were not heard by

them, or that they did not rely upon any of the alleged statements. Plaintiffs also cannot escape

the fact that the alleged statements are objectively not false, or that the alleged statements were not

material or fact-based misrepresentations.

         A.        The Alleged Statements Were Not Heard or Relied On by Plaintiffs

         As Defendants’ Brief demonstrated, the deposition testimony of all three Plaintiffs

confirmed that none of them could recall any specific alleged statements on which the Second

Amended Complaint (“SAC”) incredibly alleges they relied.3 That the SAC is a work of fiction

could not be more obvious. Not only do the allegations fall far short of raising any disputed genuine

and material issues of fact that would prevent granting the instant motion, but what is alleged is

not actionable in any event. For instance, the alleged statements about the ACN videophone being

a product that had a bright future are ones that none of the Plaintiffs recall having heard or relied

upon. The same goes for the alleged statements made by President Trump at ACN conferences. It

is an undisputed fact that none of the Plaintiffs attended any of the various conferences and as a

result thereof they could not have heard any such statements or relied upon them. Similarly, none

of the alleged statements attributed to President Trump in the Success From Home article

(Plaintiffs’ Brief p. 6) are significant as none of the Plaintiffs testified that they read that article or

any of the other articles Plaintiffs highlight.


3
  Plaintiffs’ reliance on Green v. Wing Enters., 2015 WL 7351478, at *4 (D. Md. Nov. 20, 2015), is misplaced. In
Green, although the plaintiff could not recall the exact wording of the allegedly fraudulent statements, she did recall
the thrust of what was presented. There was no suggestion in Green, as there is here, that the plaintiff could not recall
multiple statements that the complaint alleged she did recall and/or relied upon. The only statements that the Court
should consider as having been a factor in Plaintiffs’ decisions to enroll as IBOs are those statements that they recalled
during their depositions. (Notably, Plaintiffs do not attempt to rehabilitate their faulty memories by submitting
declarations.) The existence of video of certain alleged statements that Plaintiffs did not recall (Plaintiffs’ Brief p. 23)
does not prove that Plaintiffs saw those videos and heard the contents therein.



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         Perhaps recognizing that their claims have unraveled, Plaintiffs now shift their focus to

President Trump’s alleged failure to disclose that he was being paid to act as a celebrity

spokesperson for ACN. Significantly, it is an undisputed fact that President Trump did not create

the ACN Opportunity discs that were the primary means by which IBOs, including Plaintiffs,

would have heard President Trump’s alleged statements. And, there is no basis in the laws of

California, Maryland or Pennsylvania to find that every time President Trump made a statement

about ACN that he was under an affirmative duty to ensure that the audience was advised that he

was being paid as a celebrity spokesperson. Cf. Clark Consulting, Inc. v. Fin. Sols. Partners, LLC,

2005 WL 3097892, at *3 (S.D.N.Y. Nov. 17, 2005) (Lanham act imposes no affirmative duty of

disclosure).



                                                                                   The evidence bears

out that Plaintiffs did not know or care about whether President Trump was being paid to act as a

celebrity spokesperson for ACN, and did not reply upon any such undisclosed fact in deciding to

become ACN IBOs.

         The authorities cited by Plaintiffs for the proposition that Defendants had a duty of

disclosure are all inapposite. Bridge v. ETrade Sec. LLC, 2011 WL 5444266, at *5 (N.D. Cal.

2011), indicates that a duty of disclosure may be imposed upon one owing a fiduciary duty (which

is not alleged here), but does not stand for the proposition that such duty exists outside that context.

SodexoMAGIC LLC v. Drexel Univ., 24 F.4th 183, 211-212 (3d Cir. 2022), suggests that a duty to

correct facts may exist when prior representations are found to have been inaccurate. Nothing of

the sort occurred here. Rhee v. Highland Dev. Corp., 958 A.2d 385, 396-97 (Md. Ct. Spec. App.

2008), involved a real property seller’s duty to refrain from actively, intentionally concealing a




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material defect in the property. That type of situation is obviously not present here. In re MyFord

Touch Consumer Litig., 46 F. Supp. 3d 936, 958-60 (C.D. Cal. 2014), applied a rule applicable in

California product safety litigation under which a manufacturer may have a duty to disclose a

defect in the product. Again, such a rule has no applicability here. In sum, there is no support for

the insupportable proposition on which Plaintiffs rest their case.

         B.     The Alleged Statements Are Not Objectively False

         As Defendants’ Brief demonstrated, President Trump’s alleged statements are not

actionable. Plaintiffs’ opposition focuses on a few select statements, to no avail. The alleged

statement that the ACN Opportunity does not entail the same risks as starting a new business from

scratch is true and accurate. The following are undisputable facts: unlike a stand-alone start-up

entrepreneur, an ACN IBO does not have to spend time and money (1) finding products and

services to sell, (2) contracting to purchase and purchasing those services and products, (3)

marketing products and services, (3) renting space including for storing products; (4) delivering

products, (5) procuring insurance, or (6) attempting to mitigate potential personal liability for

liabilities and debts commonly incurred by fledgling entrepreneurs.




         Plaintiffs place significant weight on their claim that it was untrue that they had the

opportunity to earn money through ACN. However, statements that Plaintiffs had the opportunity

to earn money through ACN were indisputably and literally true. Many IBOs were able to earn

and did earn money, including by way of example




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made about ACN’s business model proves nothing. ACN had a successful business for decades.

Under the circumstances, there is no basis in the record to find that President Trump was

knowingly misleading prospective IBOs and Plaintiffs have not raised a genuine fact issue.

         C.       The Alleged Statements Are Not Material or Fact-Based Misrepresentations

         As Defendants have demonstrated, there is no factual basis for Plaintiffs’ claim that

President Trump made false statements of existing fact. A statement of existing fact, not a view

about what might happen in the future or an opinion, is required to prove fraud. E.g., Neu-Visions

Sports, Inc. v. Soren/McAdam/Bartells, 86 Cal. App. 4th 303, 309–10 (2000). In opposition,

Plaintiffs sidestep this issue and claim to have relied on President Trump’s statements about ACN

because he effectively affiliated himself with ACN and thereby endorsed its business generally,

not any particularized false statements he allegedly made about ACN. This is not a certified class

action in which representations made to members of a large class over many years are at issue.

Moreover, President Trump’s statements to the effect that ACN is a great company or he is fond

of ACN’s founders are puffery and opinion, not factual misrepresentations. Plaintiffs’ putative

reliance on generalized positive statements about the ACN Opportunity is legally deficient.

         President Trump’s opinions and his general belief in the ACN Opportunity, supported by

due diligence and his regular interaction with satisfied IBOs, amount to puffery and hyperbole that

cannot form the basis of misrepresentation claims. Plaintiffs attempt to evade the absence of

liability for puffery by claiming it is a seller’s privilege that only the seller can invoke.6 The cases

cited, including in their footnote 15, do not so hold.7 No decision has been identified that holds


6
 Accepting Plaintiffs posit that President Trump is in a materially different position from a seller for this purpose
would mean he cannot be held liable under the UCL and FAL as effectively the party to the transactions with IBOs
who can be compelled to make restitution.
7
 Plaintiffs argue that Defendants’ puffery defense is based on “federal law.” That is not the case. There are no federal
claims in this case. The cited decisions of various courts announce principles that have clear application outside the
contexts in which the issues arose, such as false advertising under the Lanham Act in Time Warner Cable, Inc. v.


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that puffery is a privilege reserved to sellers in all cases. In United States v. Levy, 2013 WL

3832718, at *3 (S.D.N.Y. July 15, 2013), the court found that defense unavailable to third-party

promoters and touters in a case involving securities fraud violations, including false

representations to the public securities market, which are obviously not at issue here. The Court

should instead be guided by decisions arising from factual scenarios more like those present here.

For example, the court in Martin v. FRS Company, 2014 WL 206052 (C.D.C. Feb. 25, 2014),

dismissed false advertising claims against celebrity endorser Lance Armstrong on puffery grounds.

(Although Armstrong was added to the seller’s board, he was still an endorser, not the product

seller, and successfully asserted this dispositive defense.) Similarly, in TYR Sport, Inc. v. Warnaco

Swimwear, Inc., 709 F. Supp. 2d 821, 831 (C.D. Cal. 2010), the court dismissed false advertising

claims against Mark Schubert, a paid spokesperson, because his puffing statements about Speedo

products were not actionable. Moreover, there is no principled basis to bar a celebrity spokesperson

from being able to rely on the puffery defense in the instant context. It would be paradoxical to do

so, because the law would then be that a seller could avoid liability for puffing statements despite

being in the best position to verify the accuracy of the statements being made, while the hired

celebrity spokesperson would be saddled with liability for the puffing statements.

         Plaintiffs cannot refute that the alleged misrepresentations are all in the nature of general

touting and do not constitute actionable misrepresentations of existing facts. As the Ninth Circuit

explained, ‘a statement that is quantifiable, that makes a claim as to the “specific or absolute

characteristics of a product,’ may be an actionable statement of fact while a general, subjective



DIRECTV, Inc., 497 F.3d 144 (2d Cir. 2007). See also Gillette Co. v. Wilkinson Sword, Inc., 1989 WL 8276 (S.D.N.Y.
July 6, 1989) (company’s superlatives about the quality of their shaving product are puffery, not false advertising
under Lanham Act). In any event, Defendants rely on decisions under state consumer protection and common law
previously and hereinabove. See Defendants’ Brief pp. 15-17.




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claim about a product is nonactionable puffery.” Newcal Ind. Inc. v. Ikon Office Solution, 513

F.3d 1038, 1053 (9th Cir. 2008) (citation omitted). The alleged misrepresentations that Plaintiffs

might actually have heard or relied upon fall on the general, subjective side. See also, e.g., Summit

Tech. v. High-Line Instruments Co., 933 F. Supp. 918, 932 (C.D. Ca. 1996) (seller’s claim that its

machines are perfectly reliable held to be puffing).

         The statements of opinion or about future events at issue here are simply not actionable as

fraud. President Trump’s opinion about                                        are certainly genuine.

Plaintiffs do not argue otherwise, and those statements cannot be construed as false statements of

existing fact under any analysis. President

                     was nothing more than an opinion about what might happen; it cannot be recast

as a false statement of existing fact.

II.      GENUINE AND MATERIAL ISSUES OF FACT DO NOT EXIST AS TO ANY OF
         PLAINTIFFS’ STATUTORY CLAIMS

         A.     Defendants Cannot be Required to Make Restitution Under the UCL and FAL

         As set forth in Defendants’ Brief, there is no dispute that

                                   ; she therefore cannot recover restitution from Defendants. In

opposition, Plaintiffs argue that Ms. McKoy can receive restitution under California’s UCL and

FAL from President Trump because he was the indirect recipient of payments made by Ms. McKoy

to ACN. This argument holds no water.




                                                                             Plaintiffs strategically

chose not to sue ACN; it has therefore never been established that ACN itself can be compelled to

make restitution for what Plaintiffs paid to join and participate in the ACN Opportunity. As such,



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there is no basis to require President Trump to make restitution to Plaintiffs as a purportedly

indirect beneficiary of the monies they paid solely to ACN. The Court should follow the Ninth

Circuit’s ruling in Luman v. Theisman, 647 Fed. Appx. 804 (9th Cir. 2016), where consumer claims

against a celebrity spokesperson brought under the California false advertising law were dismissed

because he was not the seller of the consumer products at issue.

         B.    Plaintiffs Cannot Recover Under the Maryland or Pennsylvania Statutes

         Defendants’ Brief shows that Plaintiffs’ claims under the UTPCPL and the CPA fail

because those laws apply only to claims for consumer goods or services intended for personal,

household and family purposes. In opposition, Plaintiffs half-heartedly attempt to show the

opposite by citing a string of cases where statutory claims were sustained based on allegations that

investors were tricked into investing in securities or other financial vehicles. Plaintiffs attempt to

persuade the Court that the ACN Opportunity was akin to a security or investment opportunity,

bringing the claims within the definition of a “service” or an investment vehicle for personal rather

than business use that would be encompassed by the statutes, should be rejected. The ACN

Opportunity was not a security or similar investment scheme; rather, it was the chance to join an

existing business and earn money from one’s own labor and that of other IBOs.




                                                                              The ACN Opportunity

is not akin to a security or investment vehicle that would be governed by these statutes. Plaintiffs’

argument that the Court should focus on the purpose of Plaintiffs’ purchases (Plaintiffs’ Brief p.




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15), proves this point. It is undisputed that the purpose for joining ACN was to earn money not to

buy goods for Plaintiffs’ own use.

         The Pennsylvania cases on which Plaintiffs rely (each decided at the motion to dismiss

stage) are inapposite as they all concerned individual securities investments, not transactions for

the purpose of earning income as is the case as to the ACN Opportunity. Plaintiffs additionally

cite a string of cases in a footnote, some of which involve illegal pyramid schemes and none of

which involve the Maryland or Pennsylvania statutes (Plaintiffs’ Brief p. 15). Most of the cited

cases were brought under the FTC Act, which does not apply to the claims at issue here, or other

state consumer protection laws which do not apply to Plaintiffs’ instant claims. The cited decisions

are not controlling or even instructive.

                                           CONCLUSION

         For the foregoing reasons and those set forth in the moving papers, the Court should grant

Defendants’ Motion for Summary Judgment and dismiss this action with prejudice.

Dated: New York, New York
       June 23, 2023
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                                CERTIFICATE OF SERVICE

       Peter T. Shapiro, an attorney duly admitted to practice before this Court, certifies that on
June 23, 2023, he caused Defendants’ Reply Memorandum of Law to be filed and served by ECF
upon all attorneys of record.


                                                           /s/ Peter T. Shapiro
                                                                Peter T. Shapiro




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